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             IN THE UNITED STATES DISTRICT COURT FOR THE
                    NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

IN RE: ETHIOPIAN AIRLINES                   Lead Case: 1:19-cv-02170 (Consolidated)
FLIGHT ET 302 CRASH
                                            Honorable Jorge L. Alonso

                                            Magistrate Judge Weisman




               BOEING’S MOTION IN LIMINE TO EXCLUDE
           DUPLICATIVE AND PREJUDICIAL EXPERT TESTIMONY
                ABOUT PLAINTIFFS’ MENTAL SUFFERING
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                                       INTRODUCTION

       Boeing moves in limine under Federal Rules of Evidence 702 and 403 to exclude expert

testimony about Plaintiffs’ grief, sorrow, and mental suffering. There is no dispute that the

emotions experienced by Plaintiffs as a result of their decedents’ deaths is relevant to Plaintiffs’

claims under the Illinois Wrongful Death Act. 740 ILCS 180/2(a). Plaintiffs—as well as Plaintiffs’

friends and family members—will testify at trial to Plaintiffs’ grief, sorrow, and mental suffering.

Plaintiffs, however, also want to bolster their accounts by having experts testify to what Plaintiffs

experienced. Such expert testimony should be excluded under Rules 702 and 403.

       First, expert testimony about Plaintiffs’ grief would not assist the jury because grief and

sorrow caused by the death of a loved one are commonly experienced emotions within the jury’s

understanding. Testimony on a matter within the jury’s common knowledge is not expert

testimony admissible under Rule 702, and accordingly has been routinely excluded by courts.

       Second, such expert testimony would be inadmissible under Rule 403 as unnecessarily

cumulative and unfairly prejudicial. Plaintiffs themselves can and will testify at trial as to their

own grief, sorrow, and mental suffering, as to which they have direct, personal knowledge.

Plaintiffs are therefore best positioned to present this evidence to the jury. Allowing Plaintiffs’

grief experts to bolster that testimony through repetition would unnecessarily expend court time

and resources, and it would also be unfairly prejudicial.

       For all these reasons, this Court should exclude such duplicative expert testimony.

                                        BACKGROUND

       Boeing expects that Plaintiffs will introduce expert testimony about the grief and sorrow

Plaintiffs have suffered because of the deaths of the ET 302 passengers. Plaintiffs have disclosed

three experts who will so testify: Donna Schuurman, Jon Reid, and Sandra Velasquez Montiel.

None of the proffered experts has treated any of the Plaintiffs, and in many instances, they

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interviewed Plaintiffs only once or twice, often remotely.

       A.      Dr. Donna Schuurman

       Dr. Donna Schuurman is a thanatologist—that is, an expert in thanatology, which

Schuurman describes as “the scientific study of dying, death, and bereavement.” Ex. A

(Schuurman Rep. on Riffel Family) at 7; see also Thanatology, ENCYCLOPEDIA BRITANNICA

(2009) (thanatology is “the description or study of death and dying and the psychological

mechanisms of dealing with them”). She is a doctor of education, not a medical doctor. Ex. A at 1.

Schuurman was retained to offer expert opinions on the effect of the deaths of Bennett and Melvin

Riffel on their parents, Martin and Susan Riffel (Ex. A at 1), as well as the effect of Melvin’s death

on his wife (Brittney Riffel) and their child (Emma Melody Riffel) (Ex. B at 1). Schuurman also

offered opinions on the effect of the death of Victor Shing Ngai Tsang on his wife (Aurora Cheung)

and their children (Oliver Tsang and Selina Tsang). Ex. C (Schuurman Rep. on Tsang Family). In

forming her opinions, Schuurman conducted interviews with Martin and Susan Riffel (Ex. A at 3),

Brittney Riffel (Ex. B at 3), and Aurora Cheung (Ex. C at 3).

       Martin and Susan Riffel. Schuurman’s Rule 26 report states that the Riffels “have suffered

profound grief, sorrow, and mental suffering as the result of the deaths of their only children,” and

describes how they are coping with it, reporting, for example, that Martin Riffel is in “a constant

state of … pain” and “falls into depression” and recounting that Susan Riffel told Schuurman that

she “still [has] mini meltdowns.” Ex. A at 6–12.

       Brittney Riffel. Stating that “not a day … goes by” that Brittany does not “think of Melvin,”

Schuurman, who has not treated Brittany, reports that her “therapy notes reveal the mental

suffering and trauma she has experienced.” Ex. B at 5, 7. Schuurman also believes that Brittney’s

daughter, Emma (about three years old at the time of Brittney’s interview), “will express profound

grief and mental suffering throughout her life.” Id. at 13.
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         Aurora Cheung. Schuurman reports that Cheung “has suffered significant grief, sorrow,

and mental suffering, and more likely than not … will continue to suffer,” and that she “has

difficulty sleeping, experiences headaches, and often feels like she is in a near-constant state of

distress.” Id. at Ex. C at 5, 12. As for Oliver and Selina, Cheung’s young children (Oliver was six

and Selina three when Aurora was interviewed), Schuurman states that they “will express profound

grief and mental suffering throughout their lifetimes … and continually re-experience the absence

of their father in their lives.” Id. at 10.

         B.     Dr. Jon Reid

         Plaintiffs’ second grief expert, Dr. Jon Reid, is also a thanatologist. Ex. D (Reid Rep.). He

has a doctorate in family studies and is not a medical doctor. Id. at 20. He was retained “to offer

expert opinions on the impact of the death of Zhenzhen Huang on her husband, Wei Xiong, and

their son, Zirui ‘Ray’ Xiong.” Id. He interviewed Wei and Zirui one time, remotely. Id. at 2; Ex.

E (Reid Dep.) at 40:7–41:3. Reid purports to have diagnosed Wei with “prolonged grief disorder”

and “major depressive disorder,” though he never mentioned these diagnoses in his report. Ex. E

(Reid Dep.) at 38:4–39:3, 42:23–43:11.1 Reid reports that Wei Xiong “struggles daily with sadness

and concerns about his son’s welfare.” Ex. D at 10.

         C.     Mag. Sandra Velasquez Montiel

         Plaintiffs’ third grief expert, Mag. Sandra Velasquez Montiel, is a psychologist. Ex. F

(Velasquez Rep.). 2 She was retained “to examine the impact caused by Dr. Christoph Sautner’s

untimely death on his partner Michaela Sonnleitner.” Id. at 1. Velasquez interviewed Michaela

once alone and a second time with her son, Sebastian. Id. at 5. The two remote interviews totaled



1      As explained in Boeing’s motion to exclude Reid’s diagnostic opinions under Rule 702,
his opinions are not reliable. See ECF 1703 at 1.
2      “Mag.” is the abbreviation for “Magister,” German for a person with a master’s degree.
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about two and a half hours. Ex. G (Velasquez Dep.) at 57:9–58:18. Velasquez testified that “it has

not been possible for Ms. Sonnleitner to arrive emotionally and cognitively to the point of truly

being able to move on,” but also stated that she was “articulate in expressing the emotions that

she’s been experiencing” and “absolutely open.” Id. at 68:2–18. Velasquez also states that

Christoph Sautner’s death “has unpredictable negative emotional repercussions for Sebastian and

his relationship with his mother” (Ex. F at 13), but notes that her “assignment concentrate[d] on

Michaela” (Ex. G at 70:3).

       D.      Plaintiffs’ testimony

       Each of the adult survivors gave deposition testimony, speaking at length from their

personal experience about their grief and mental suffering as well as that of their children. Brittney

Riffel testified about the severity and constancy of her grief at losing her sons, which caused her

to withdraw from social activities and to seek therapy. Ex. H (B. Riffel Dep.) at 71:13–87:5. Martin

Riffel testified that he needs to keep busy all the time to ward off depression and that he thinks

about his sons all the time, no matter what time of day or what he is doing. Ex. I (M. Riffel Dep.)

at 73:21–81:18. In addition to describing her own grief and the help she has sought to deal with it,

Victor Tsang’s widow Aurora Cheung testified in detail as to how her children dealt with the loss

of their father, reporting, for example, that her son cried for his father at night because it was his

father who customarily put him to bed. Ex. J (A. Cheung Dep.) at 72:9–14. Wei Xiong told of his

deep sadness at the loss of his wife and how he has visited the crash site several times so that he

can feel close to her. Ex. K (Wei Dep. Tr.) at 54:4–71:14, 73:25–82:19. Michaela Sonnleitner, who

gave birth a few months after her husband died in the crash, testified about how alone she felt after

her son’s birth and that in the first two years after the crash she would cry after she put him to bed.

Ex. L (Sonnleitner Dep.) at 83:1–97:20, 98:12–100:12.



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       E.      Testimony from Plaintiffs’ friends and family members

       In addition to providing their own testimony, Plaintiffs intend to call friends and family

members to testify about Plaintiffs’ grief. Plaintiff Aurora Cheung has, for example, designated

the deposition testimony of her friend Stefanie Kroppach, who testified that, in her view, Cheung’s

grief has not lessened and that Cheung remains fragile. Ex. M (Kroppach Dep.) at 35:21–36:18.

Similarly, Plaintiffs intend to present the testimony of Kerstin Bashir-Wannerer, a friend of

Christoph Sautner, who testified how devastated Sautner’s surviving partner, Plaintiff Michaela

Sautner, was but that she could not mourn properly because she has to be there for her child . Ex. N

(Bashir-Wannerer Dep.) at 32:5–35:3; see also, e.g., Ex. O (Marlina Riffel Dep.) at 15:4–15:17

(aunt of Bennett and Melvin Riffel testifying to loss suffered by Plaintiff Ike Riffel); Ex. P (Biruta

Dep.) at 18:12–19:14 (childhood friend of Musoni testifying about the effect of his death on his

children).

                                      LEGAL STANDARD

       To be admissible, expert testimony must “assist the trier of fact in determining some fact

that is at issue.” Stuhlmacher v. Home Depot U.S.A., Inc., 774 F.3d 405, 409 (7th Cir. 2014);

accord Lawson v. Trowbridge, 153 F.3d 368, 375 (7th Cir. 1998). When expert testimony “will

not assist the trier of fact,” then “it is ‘properly excludable … under Rule 702.’” United States v.

Hall, 165 F.3d 1095, 1104 (7th Cir. 1999) (quoting United States v. Hudson, 884 F.2d 1024 (7th

Cir. 1989)). And under Rule 403, “[t]he court may exclude relevant evidence if its probative value

is substantially outweighed by a danger of … unfair prejudice, confusing the issues, misleading

the jury, undue delay, wasting time, or needlessly presenting cumulative evidence.” Fed. R. Evid.

403.




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                                           ARGUMENT

I.       Expert testimony about Plaintiffs’ grief and sorrow would not assist the jury because
         such emotions are within the jury’s common understanding.

         The Illinois Wrongful Death Act allows recovery of damages for “grief, sorrow, and mental

suffering” that “result[] from [a decedent’s] death.” 740 ILCS 180/2(a); see Hammond v. Sys.

Transp., 942 F. Supp. 2d 867, 875 (C.D. Ill. 2013). Plaintiffs and their family members will of

course be able to testify as to the emotions that Plaintiffs experienced resulting from their

decedents’ deaths. In support of such damages here, however, Plaintiffs also intend to call grief

experts Schuurman, Reid, and Velasquez to testify about Plaintiffs’ grief suffered as a result of

their decedents’ deaths.3 This testimony should not be permitted. Under the Federal Rules of

Evidence, courts have routinely excluded expert testimony about a plaintiff’s grief, sorrow, and

mental distress in wrongful death cases because those are common emotions within the jury’s

understanding, and expert testimony would therefore be unhelpful. See El-Meswari v. Wash. Gas

Light Co., 785 F.2d 483, 487 (4th Cir. 1986); Sardis v. Overhead Door Corp., 2019 WL 560273,

at *3 (E.D. Va. 2019), rev’d and remanded on other grounds, 10 F.4th 268 (4th Cir. 2021); Carter

v. United States, 2014 WL 3895751, at *4 (E.D. Va. 2014); Robles v. Chicago Transit Auth., 527

N.E.2d 361, 367–68 (Ill. Ct. App. 1988).

         In El-Meswari, for instance, the plaintiffs sued under Virginia’s wrongful death act for the

death of their son and, like Plaintiffs here, sought to introduce expert testimony about the mother’s

“inner grief” and “response to her loss.” 785 F.2d at 484, 487.4 The district court excluded the


3        These Plaintiffs and experts also opine on survivors’ reactions to Boeing’s alleged
conduct—testimony that is inadmissible for reasons explained in Boeing’s Motion to Exclude
Evidence Pertaining to Liability and Punitive Damages (ECF 1596). Boeing is simultaneously
filing a supplemental brief in support of that motion to identify the testimony specific to the June
trial cases that should be excluded pursuant to Boeing’s Motion.
4        Because the courts have excluded testimony from grief experts on generally applicable
principles under Federal Rule of Evidence 702, any variation in state wrongful death statutes is
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testimony because “the jury could assess the mother’s inner grief without expert guidance.” Id. at

487. The Fourth Circuit affirmed because it was well within “the trial judge’s broad discretion

under Federal Rule of Evidence 702 to determine that [the] proposed expert will not significantly

assist the arbiter of fact.” Id. Similarly, in Sardis (another wrongful death case), the court excluded

the opinion of a medical doctor offered as a “grief expert” because “the grief that [the plaintiff]

and her son suffer, how long they will need to recover, and the amount of counseling they will

need” are “matters [that] ‘can be left to turn mainly upon the good sense and deliberate judgment

of the trier [of fact].’” 2019 WL 560273, at *3 (quoting Carter, 2014 WL 3895751, at *4). Calling

an expert to testify to these topics, the court held, “is simply an attempt to put a patina of science

over something that everyone understands.” Id. In Carter, the court held that a grief expert’s

“opinion does not assist the trier of fact” because “[p]laintiff and her daughter can adequately

testify to how the accident affected them.” 2014 WL 3895751, at *4. And in Robles—an Illinois

wrongful death and survival action—the appellate court affirmed the trial court’s decision to

prohibit the plaintiff’s expert “from testifying about the grief and mental anguish of [the

decedent’s] family” because “family members,” not experts, “were the most appropriate witnesses

to testify as to their grief.” 527 N.E.2d at 367.5

       Cases like these emphasize the rule that “[e]xpert testimony is generally not permitted

concerning factual issues that are within the knowledge and experience of ordinary lay people,

because it would not help the trier of fact to understand the evidence or determine a fact in issue.”



immaterial here. Like the Illinois Wrongful Death Act, however, the Virginia Wrongful Death Act
allows a decedent’s lawful survivor to recover damages for the “mental an guish” caused by the
decedent’s death. Va. Code Ann. § 8.01-52(1).
5       Similarly, in Nedeau v. Armstrong, 2011 WL 849744, at *7 (E.D. Wash. 2011), the court—
citing Rule 702—precluded an expert from testifying about the survivor’s close relationship with
the decedent “because this concept does not involve scientific, technical, or specialized knowledge
to assist the jury.”
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4 Weinstein’s Federal Evidence § 702.03 (2021). Indeed, authorities have stressed that “expertise

seems unlikely to contribute much on common questions relating to mental states in tort cases,

such as the sense of loss felt by plaintiff in a wrongful death suit.” 3 Federal Evidence § 7:9 (4th

ed., July 2022 Update) (emphasis added) (citing Andrews v. Metro N. Commuter R. Co., 882 F.2d

705, 707 (2d Cir. 1989); El-Meswari, 785 F.2d at 487; United States v. Masat, 896 F.2d 88, 93

(5th Cir. 1990); United States v. Lewis, 837 F.2d 415, 418 (9th Cir. 1988)).

       This Court does not appear to have addressed the admissibility of “grief expert” testimony.

But just last year, another court in the Seventh Circuit held in a wrongful death case that “the

concept of loss of love and companionship of a loved one is within a juror’s ability to understand”

without expert testimony. Duke v. Danfreight Sys., Inc., 2022 WL 219043, at *6 (S.D. Ind. 2022).

And in other contexts, too, courts have repeatedly recognized that emotional “distress is a

commonly experienced emotion that is within the jurors’ common -sense understanding.”

Patterson v. City of Charlotte, 2022 WL 17171080, at *1 (W.D.N.C. 2022) (excluding expert

testimony about the “emotional distress” a plaintiff endured due to race discrimination); see also

Finn v. Syneos Health US, Inc., 2020 WL 12968437, at *3 (S.D. Iowa 2020) (emotional distress is

a “generalized feeling[] that a lay juror can understand and evaluate without need for expert

testimony”); Medina v. Metro. Interpreters & Translators, Inc., 139 F. Supp. 3d 1170, 1176 (S.D.

Cal. 2015), aff’d, 742 F. App’x 268 (9th Cir. 2018) (“[E]motional distress damages … are ordinary,

commonplace, and [can be] thoughtfully and reasonably determined by the ju ry.”).

       As in all these cases, the expert testimony proffered here would not help the jury and should

be excluded under Rule 702. The jury does not need expert testimony to understand that the tragic

death of a spouse, child, or any other close family member will result in tremendous and lasting

feelings of grief, sorrow, and mental suffering. All of the adult survivors here have shown an ability



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to articulate the profound effect of their loved ones’ deaths on their emotional wellbeing and, where

applicable, on that of their minor children. Ex. D at 2, 20; Ex. E at 79:22–25; Ex. G at 51:3–16;

67:11–14. The jury is well equipped to weigh Plaintiffs’ direct testimony without it being repeated

by experts, just as it is able to assess an individual’s mental state without expert testimony in other

cases. See Valley Forge Ins. Co. v. Hartford Iron & Metal, Inc., 2018 WL 4214524, at *9 (N.D.

Ind. 2018) (“[An expert] may not testify as to what he believes another individual ‘thought,’

‘believed,’ or ‘felt.’ An expert simply is not in any better position than the jury to assess another’s

subjective [state of mind].” (emphasis added) (quoting Gallatin Fuels, Inc. v. Westchester Fire Ins.

Co., 410 F. Supp. 2d 417, 423 (W.D. Pa. 2006))).

       Simply put, the jury does not need expert testimony to understand the relationship that the

survivors had with their decedents or the sorrow their deaths must have caused. Understanding the

grief, sorrow, and mental suffering that results after the loss of a cherished family member is well

within the jurors’ experience. Under these circumstances, Plaintiffs’ expert testimony will not

assist the jury, and this Court should exclude it under Rule 702.

II.    Expert testimony about Plaintiffs’ grief and sorrow is unnecessarily cumulative and
       unfairly prejudicial.

       In addition to being unhelpful, expert testimony about Plaintiffs’ grief and sorrow is also

unnecessarily cumulative and unfairly prejudicial. It therefore should also be excluded under Rule

403. See, e.g., Fields v. Withoff, 2015 WL 5174000, at *2 (S.D. Ill. 2015) (courts should exclude

“expert testimony [that] would simply be cumulative of [a] [p]laintiff’s own testimony”).

       The experts’ testimony about Plaintiffs’ emotional suffering would be repetitive of

Plaintiffs’ own testimony and would “not provide any insight” that Plaintiffs themselves would

not “be able to provide.” Nedeau, 2011 WL 849744, at *7. In Carter, for instance, the plaintiff

sued the United States for negligently causing the death of her husband and sought to introduce


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the testimony of an expert—a clinical social worker “in the field of grief and loss counseling”—

who had diagnosed the plaintiff with “Major Depressive Disorder” (as Reid did Xiong here). 2014

WL 3895751, at *1–4. The court excluded the expert’s opinions, finding that the “testimony is

cumulative and would not assist the trier of fact” because it “adds little in the way of new

information that could not be provided through testimony from the Plaintiff and her daughter,”

who could “adequately testify to how the accident affected them.” Id. at *4.

       As in Carter, Plaintiffs here will testify at trial as to their own grief and sorrow. Everything

they conveyed to the experts during their short interviews and everything they conveyed during

their depositions can be expressed directly to the jury. As Michaela Sonnleitner’s own expert

(Velasquez) testified, Plaintiff is “absolutely open” and “articulate in expressing the emotions that

she’s been experiencing.” Ex. G at 68:2–18. There is no need for Velasquez also to explain to the

jury that Sonnleitner’s relationship with her partner was “close and caring” and “filled with love,”

that her partner was a “highly loved and capable” person, and that they had a “stable and caring

relationship.” Ex. F at 5–8. Similarly, there is no need for Velasquez also to testify that “Ms.

Sonnleitner reports that she has found a way to maintain her stability ,” or “says ‘I must always do

something’ [and] is compelled to keep her mind occupied .” Id. at 8. Nor is there any need for

Velasquez also to describe Sonnleitner’s “relationship with her child” or repeat what “Ms.

Sonnleitner told [Velasquez] in the interview.” Id. at 8, 9. Velasquez’s testimony is duplicative of

all these things that Sonnleitner can and will testify about herself.

       And that is common across these experts’ reports and depositions; they repeat, under the

rubric of assertedly expert testimony, what Plaintiffs themselves will testify to about their personal

experiences. Each Plaintiff testified in considerable detail at deposition about their grief. See Ex.

H (B. Riffel Dep.) at 71:13–87:5; Ex. I (M. Riffel Dep.) at 73:21–81:18; Ex. J (A. Cheung Dep.)



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at 72:9–14; Ex. K (Wei Dep. Tr.) at 54:4–71:14, 73:25–82:19; Ex. L (Sonnleitner Dep.) at 83:1–

97:20, 98:12–100:12. Even Wei Xiong, whom Reid generally describes as suppressing his grief

and not being open to sharing it with others, himself explained how he shut himself off from friends

and avoids talking to others about his wife. Ex. K at 63:11–64:8, 65:11–66:4. Allowing Plaintiffs’

grief experts to cover the same ground as Plaintiffs themselves will be a repetitive expenditure of

the court’s time and resources.

       It would also unduly prejudice Boeing by “put[ting] a patina of science over something

that everyone understands.” Sardis, 2019 WL 560273, at *3; see also Navarro de Cosme v. Hosp.

Pavia, 922 F.2d 926, 932 (1st Cir. 1991) (affirming exclusion of “grief counselor” because of “the

danger of unfair prejudice” where the testimony was “too broad, too general, too technical, too,

perhaps, scientific”). In this Circuit, “[i]f the proffered testimony duplicates the jury’s knowledge,

Rule 403 might counsel exclusion of the expert testimony to avoid the risk of unduly influencing

the jury.” United States v. Hall, 93 F.3d 1337, 1344 (7th Cir. 1996). That is because “[t]rouble is

encountered … when the evaluation of the commonplace by an expert witness might supplant a

jury’s independent exercise of common sense.” Patterson, 2022 WL 17171080, at *2 (quoting

Scott v. Sears, Roebuck & Co., 789 F.2d 1052, 1055 (4th Cir. 1986)). Here, the “scientific

appearance” of the proffered expert testimony “could unduly influence the jury, and there is a risk

that it could even substitute for [Plaintiffs’] testimony.” Id. At the same time, “the [expert]

testimony has no probative value because,” as explained above, “it concerns a universally felt

emotion.” Patterson, 2022 WL 17171080, at *2. For example, Reid’s opinions that “[a]vailable

research confirms that the closeness of a relationship is a significant predictor of grief reactions”

and that “[a]ccording to the research literature, the intensity of grief is significantly more intense

with a sudden death” is expert jargon for what everybody understands: it hurts deeply to lose a



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close loved one tragically and unexpectedly. Ex. D at 6. Reid’s ultimate conclusions that “Xiong

has suffered significant grief, sorrow, and mental suffering” and “struggles daily with sadness”

(id. at 10) only “put[s] a patina of science over something that everyone understands.” Sardis, 2019

WL 560273.

       Schuurman’s, Reid’s, and Velasquez’s testimony risks unduly influencing the jury by

lending unnecessary expert validation to Plaintiffs’ own stated feelings of grief and sorrow and

thereby “supplant[ing] the jury’s independent exercise of common sense.” Id. As a result, “[a]ny

probative value of [the experts’] testimony is substantially outweighed by the danger that it ‘may

induce the jurors to defer to [their] conclusions rather than draw their own.’” Duke, 2022 WL

219043, at *6 (original alterations omitted) (quoting United States v. Brown, 871 F.3d 532, 539

(7th Cir. 2017)). It should be excluded.

                                         CONCLUSION

       For these reasons, the Court should exclude under Rules 702 and 403 any expert testimony

about Plaintiffs’ grief and sorrow.

DATED: May 26, 2023                                  THE BOEING COMPANY

                                                     By: /s/ Dan K. Webb
                                                     One of Its Attorneys

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                               CERTIFICATE OF SERVICE

      I hereby certify that on May 26, 2023, I electronically filed the foregoing with the Clerk of

the Court using the CM/ ECF system, which will send notification of such filing to all attorneys

of record.


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